     Case 8:19-cv-02095-JLS Document 11 Filed 11/04/20 Page 1 of 2 Page ID #:75



1
2
3
4
5                                                           JS-6
6
7
8                        UNITED STATES DISTRICT COURT
9                      CENTRAL DISTRICT OF CALIFORNIA
10   CRAIG SHULTS,                     Case No. 8:19-CV-00587-JLS
11            Petitioner,
          v.                           JUDGMENT
12
     UNITED STATES OF AMERICA,
13
              Respondent.
14   JOSEPH HAYMORE,                   Case No. 8:19-CV-00361-JLS
15            Petitioner,
16        v.                           JUDGMENT
     UNITED STATES OF AMERICA,
17
              Respondent.
18
     PAUL LICAUSI,                     Case No. 8:19-CV-00416-JLS
19            Petitioner,
20        v.                           JUDGMENT
21   UNITED STATES OF AMERICA,
              Respondent.
22
     SYLVIA MELKONIAN,                 Case No. 8:19-CV-02095-JLS
23
              Petitioner,
24        v.                           JUDGMENT
25   UNITED STATES OF AMERICA,
26            Respondent.
27
28
      Case 8:19-cv-02095-JLS Document 11 Filed 11/04/20 Page 2 of 2 Page ID #:76



1          IT IS ADJUDGED that the petitions in the above-captioned matters are
2    dismissed, and the actions are dismissed with prejudice.
3          The Clerk shall close these cases.
4          DATED: November 4, 2020
5
                                           _________________________________
6
                                           Hon. Josephine L. Staton
7                                          United States District Judge
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                2
